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                                     UNITED STATES DISTRICT COURT
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                                   CENTRAL DISTRICT OF CALIFORNIA
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10    DWAIN LAMMEY,                                 )       Case No. 2:20-cv-10239-RGK-JEM
                                                    )
11                            Plaintiff(s),         )
                                                    )       ORDER DISMISSING ACTION FOR
12    vs.                                           )       LACK OF PROSECUTION
                                                    )
13    YOUNG S. BAE, et al,                          )
                                                    )
14                            Defendant(s).         )
                                                    )
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16             On July 9, 2021, the Court ordered Plaintiff to file a motion for default judgment on or
17    before August 9, 2021 [42]. On October 21, 2021 the Court issued an order to show cause in
18    writing on or before October 25, 2021 why the matter should not be dismissed for lack of
19    prosecution [44]. Plaintiff has not adequately responded to the Order to Show Cause, and
20    therefore, the matter is dismissed for lack of prosecution and failure to comply with a court
21    order.
22             IT IS SO ORDERED.
23
      Dated: October 26, 2021
24                                                          R. GARY KLAUSNER
                                                            UNITED STATES DISTRICT JUDGE
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